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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF NEW YORK


CHRISTOPHER BAIRD,
                                                         Case No.: _________________
                     Plaintiff,
                                                         COMPLAINT
       -against-
                                                         DEMAND FOR JURY TRIAL
FLIR SYSTEMS INC., JAMES J. CANNON,
EARL R. LEWIS, JOHN D. CARTER,
WILLIAM W. CROUCH, CATHERINE A.
HALLIGAN, ANGUS L. MACDONALD,
MICHAEL T. SMITH, CATHY A.
STAUFFER, ROBERT S. TYRER, JOHN W.
WOOD JR., and STEVEN E. WYNNE,

                     Defendants.



    COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

            Plaintiff, Christopher Baird, by Plaintiff’s undersigned attorneys, for this complaint against

  Defendants, alleges upon personal knowledge with respect to Plaintiff, and upon information and

  belief based upon, inter alia, the investigation of counsel, as to all other allegations herein, as

  follows:

                                      NATURE OF THE ACTION

       1.        This is an action brought by Plaintiff against FLIR Systems, Inc. (“FLIR” or the

“Company”) and the members of the Company’s board of directors (collectively referred to as the

“Board” or the “Individual Defendants” and, together with the Company, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15

U.S.C. §§ 78n(a), 78t(a) respectively, and United States Securities and Exchange Commission

(“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9. Plaintiff’s claims arise in connection with the proposed

acquisition of FLIR by Teledyne Technologies Incorporated (“Teledyne”).


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       2.      On January 4, 2021, FLIR and Teledyne entered into an agreement and plan of merger

(the “Merger Agreement”), pursuant to which FLIR will merge with and into Teledyne, with Teledyne

continuing as the surviving company (the “Proposed Transaction”).

       3.      Pursuant to the terms of the Merger Agreement, FLIR’s common stock shareholders

will be entitled to receive $28.00 in cash (the “Cash Consideration”) and 0.0718 shares of Teledyne

common stock (the “Exchange Ratio” and, together with the Cash Consideration, the “Merger

Consideration”) for each share of FLIR common stock that they own. Based on Teledyne’s 5-day

volume weighted average price as of December 31, 2020, the last trading day before the public

announcement of the signing of the Merger Agreement, the Merger Consideration was worth

approximately $56.00 per share of FLIR common stock.

       4.      On or about March 4, 2021, in order to convince FLIR’s public common stockholders

to vote in favor of the Proposed Transaction, the Defendants authorized the filing of a materially

incomplete and misleading Form S-4 Registration Statement (the “Registration Statement”) with the

SEC, in violation of Sections 14(a) and 20(a) of the Exchange Act.

       5.      In particular, the Registration Statement contains materially incomplete and

misleading information concerning the background of the Proposed Transaction and the valuation

analyses performed by FLIR’s financial advisors, Goldman Sachs & Co. LLC (“Goldman Sachs” or

the “Financial Advisors”) regarding the Proposed Transaction.

       6.      The Proposed Transaction is expected to close by the second or the third quarter of

2021 and the special meeting of the Company’s shareholders to vote on the Proposed Transaction will

be scheduled in the coming weeks. Therefore, it is imperative that the material information that has

been omitted from the Registration Statement is disclosed prior to the special meeting, so Plaintiff

can properly exercise all corporate voting rights.

       7.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against


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Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9. Plaintiff

seeks to enjoin Defendants from taking any steps to consummate the Proposed Transaction unless and

until the material information discussed below is disclosed to FLIR’s public common stockholders

sufficiently in advance of the upcoming shareholder vote or, in the event the Proposed Transaction is

consummated, to recover damages resulting from the Defendants’ violations of the Exchange Act.

                                   JURISDICTION AND VENUE

        8.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27 of

the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934 Act

and Rule 14a-9.

        9.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either present

in this District for jurisdictional purposes or has sufficient minimum contacts with this District as to

render the exercise of jurisdiction over each Defendant by this Court permissible under the traditional

notions of fair play and substantial justice. “Where a federal statute such as Section 27 of the

[Exchange] Act confers nationwide service of process, the question becomes whether the party has

sufficient contacts with the United States, not any particular state.” Sec. Inv’r Prot. Corp. v. Vigman,

764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has minimum contacts with the

United States, Section 27 of the Act confers personal jurisdiction over the defendant in any federal

district court.” Id. at 1316.

        10.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as 28 U.S.C. § 1391, because Defendants are found or are inhabitants or transact

business in this District. Indeed, FLIR’s common stock trades on the Nasdaq Global Select Market

(“Nasdaq”), which is headquartered in this District. See, e.g., United States v. Svoboda, 347 F.3d

471, 484 n.13 (2d Cir. 2003) (collecting cases).


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                                               PARTIES

        11.     Plaintiff is, and has been continuously throughout all times relevant hereto, the owner

of FLIR common stock.

        12.     Defendant FLIR is a Delaware corporation with its principal executive offices located

at 27700 SW Parkway Avenue, Wilsonville, Oregon and a world leader in developing technologies

that enhance perception and awareness, including thermal imaging systems, visible-light imaging

systems, locater systems, measurement and diagnostic systems, and advanced threat-detection

solutions. FLIR’s common stock trades on the Nasdaq under the ticker symbol “FLIR.”

        13.     Defendant James J. Cannon (“Cannon”) is, and has been at all relevant times, the

Company’s President and Chief Executive Officer, and a director of the Company.

        14.     Defendant Earl R. Lewis (“Lewis”) is, and has been at all relevant times, the

Chairman of the Board of Directors of the Company.

        15.     Defendant Michael T. Smith (“Smith”) is, and has been at all relevant times, a director

of the Company. Defendant Smith has also been at all relevant times, a director of Teledyne.

        16.     Defendant John D. Carter (“Carter”) is, and has been at all relevant times, a director

of the Company.

        17.     Defendant William W. Crouch (“Crouch”) is, and has been at all relevant times, a

director of the Company.

        18.     Defendant Catherine A Halligan (“Halligan”) is, and has been at all relevant times, a

director of the Company.

        19.     Defendant Angus L. Macdonald (“Macdonald”) is, and has been at all relevant times,

a director of the Company.

        20.     Defendant Cathy A. Stauffer (“Stauffer”) is, and has been at all relevant times, a

director of the Company.


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        21.     Defendant Robert S. Tyrer (“Tyrer”), is and has been at all relevant times, a director

of the Company.

        22.     Defendant John W. Wood, Jr. (“Wood”), is and has been at all relevant times, a

director of the Company.

        23.     Defendant Steven E. Wynne (“Wynne”), is and has been at all relevant times, a

director of the Company.

        24.     The Defendants identified in paragraphs 13 through 23 are collectively referred to

herein as the “Board” or the “Individual Defendants,” and together with the Company, the

“Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        25.     FLIR is a publicly traded Delaware corporation headquartered in Wilsonville, Oregon

that is a world leader in developing technologies that enhance perception and awareness, including

thermal imaging systems, visible-light imaging systems, locater systems, measurement and diagnostic

systems, and advanced threat-detection solutions. FLIR’s common stock trades on the Nasdaq under

the ticker symbol “FLIR.”

        26.     In the first quarter of 2020, FLIR reorganized its business as part of a “Project Be

Ready” restructuring program, which resulted in identification of two reportable operating segments:

(i) Industrial Technologies, and (ii) Defense Technologies.

        27.     Since this restructuring, the FLIR has positioned itself for continued, sustained

economic growth in the coming years.

        28.     Indeed, along with the financial results that FLIR released on October 30, 2020, less

than three months before the Proposed Transaction was announced, FLIR issued a press release

entitled FLIR Systems Announces Third Quarter 2020 Financial Results, which reaffirmed its current


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strategies, including Project Be Ready, stating in part:

        Commenting on FLIR’s third quarter results, Jim Cannon, President and Chief
        Executive Officer, said, “I’m pleased with our third quarter results despite dynamic
        macro-economic conditions arising from the pandemic across some of the end
        markets we serve. We delivered important program wins, brought innovative new
        products to market, and on a year over year basis, expanded margins and drove
        earnings growth. Total backlog of $899 million remained at near-record levels, up
        10.9% from the prior year quarter. In addition, we continue to realize expense
        savings through the ongoing execution of Project Be Ready, which aims to help
        our business profitably scale over the longer term while reducing costs in the
        near term. As a result, we improved adjusted operating margins by 110 basis points
        and adjusted net income by nearly 8% from the third quarter last year. As
        momentum continues to build across the enterprise, we believe our third quarter
        performance provides further evidence that the strategic pivot we embarked upon
        two years ago is working.”

        Mr. Cannon concluded, “Based on our learnings from operating in the COVID-19
        environment, our results year-to-date and outlook for the remainder of the fourth
        quarter, today we are re-initiating guidance for the full year 2020. Importantly, we
        expect to achieve year-over-year improvement in adjusted earnings per diluted
        share in 2020. Our commitment to driving value for shareholders remains at the
        forefront of everything we do and I feel confident that FLIR is well-positioned as
        we look to the future.”

        29.     Thus, the Proposed Transaction comes at a time when FLIR’s future success was not

fully reflected by its share price. The Proposed Transaction will “compensate” FLIR’s public

stockholders with Merger Consideration that fails to adequately compensate them for the intrinsic

value of their shares.

        30.     Despite FLIR’s intrinsic value and growth prospects, the Individual Defendants are

agreeing to a merger that deprives FLIR’s public shareholders of the ability to partake in the

Company’s individual growth and instead cashes them out in part and dilutes the value of their shares

with an inadequate interest in Teledyne. The Individual Defendants breached their fiduciary duties

owed to FLIR’s shareholders by agreeing to the Proposed Transaction for the unfair Merger

Consideration, and by allowing the unfair and flawed sales process to unfold in the manner that it did,

which will cause Plaintiff and the Class to receive an inadequate Merger Consideration while

Company insiders receive millions of dollars in severance payments and accelerated vesting of their

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restricted stock units.

The Announcement of the Proposed Transaction

         31.     On January 4, 2021, Teledyne and FLIR issued a joint press release to announce the

Proposed Transaction, which stated in part:


                          TELEDYNE TO ACQUIRE FLIR SYSTEMS

         Cash and Stock Transaction Valued at Approximately $8.0 Billion

         Teledyne and FLIR to Host Joint Conference Call and Webcast at 11:00 a.m.
         Eastern Today

         THOUSAND OAKS, Calif. and ARLINGTON, Va. – January 4, 2021 – Teledyne
         Technologies Incorporated (NYSE: TDY) (“Teledyne”) and FLIR Systems, Inc.
         (“NASDAQ: FLIR) (“FLIR”) jointly announced today that they have entered into
         a definitive agreement under which Teledyne will acquire FLIR in a cash and stock
         transaction valued at approximately $8.0 billion

         Under the terms of the agreement, FLIR stockholders will receive $28.00 per share
         in cash and 0.0718 shares of Teledyne common stock for each FLIR share, which
         implies a total purchase price of $56.00 per FLIR share based on Teledyne’s 5-day
         volume weighted average price as of December 31, 2020. The transaction reflects
         a 40% premium for FLIR stockholders based on FLIR’s 30-day volume weighted
         average price as of December 31, 2020.

         As part of the transaction, Teledyne has arranged a $4.5 billion 364-day credit
         commitment to fund the transaction and refinance certain existing debt. Teledyne
         expects to fund the transaction with permanent financing prior to closing. Net
         leverage at closing is expected to be approximately 4.0x adjusted pro forma
         EBITDA with leverage declining to less than 3.0x by the end of 2022.

         Teledyne expects the acquisition to be immediately accretive to earnings, excluding
         transaction costs and intangible asset amortization, and accretive to GAAP earnings
         in the first full calendar year following the acquisition.

         “At the core of both our companies is proprietary sensor technologies. Our business
         models are also similar: we each provide sensors, cameras and sensor systems to
         our customers. However, our technologies and products are uniquely
         complementary with minimal overlap, having imaging sensors based on different
         semiconductor technologies for different wavelengths,” said Robert Mehrabian,
         Executive Chairman of Teledyne. “For two decades, Teledyne has demonstrated its
         ability to compound earnings and cash flow consistently and predictably. Together
         with FLIR and an optimized capital structure, I am confident we shall continue
         delivering superior returns to our stockholders.”

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       “FLIR’s commitment to innovation spanning multiple sensing technologies has
       allowed our company to grow into the multi-billion-dollar company it is today,”
       said Earl Lewis, Chairman of FLIR. “With our new partner’s platform of
       complementary technologies, we will be able to continue this trajectory, providing
       our employees, customers and stockholders even more exciting momentum for
       growth. Our Board fully supports this transaction, which delivers immediate value
       and the opportunity to participate in the upside potential of the combined
       company.” Jim Cannon, President and Chief Executive Officer of FLIR, said, “We
       could not be more excited to join forces with Teledyne through this value-creating
       transaction. Together, we will offer a uniquely complementary end-to-end portfolio
       of sensory technologies for all key domains and applications across a well-
       balanced, global customer base. We are pleased to be partnering with an
       organization that shares our focus on continuous innovation and operational
       excellence, and we look forward to working closely with the Teledyne team as we
       bring our two companies together to capitalize on the important opportunities
       ahead.”

       Fourth Quarter Financial Results

       In a separate press release issued today, Teledyne announced improved preliminary
       financial results for the fourth quarter and full year 2020. The Teledyne press
       release is available on www.teledyne.com. FLIR noted today that it expects to meet
       or exceed the full year fiscal 2020 guidance it provided on October 30, 2020.

       Approvals and Timing

       The transaction, which has been approved by the boards of directors of both
       companies, is expected to close in the middle of 2021 subject to the receipt of
       required regulatory approvals, including expiration or termination of the applicable
       waiting period under the Hart-Scott-Rodino Antitrust Improvements Act, approvals
       of Teledyne and FLIR stockholders and other customary closing conditions.

       Advisors

       Evercore is acting as exclusive financial advisor and McGuireWoods LLP is acting
       as legal advisor to Teledyne in connection with the transaction. Goldman Sachs &
       Co. LLC is acting as exclusive financial advisor and Hogan Lovells US LLP is
       acting as legal advisor to FLIR in connection with the transaction. Teledyne has
       entered into a 364-day senior unsecured bridge facility credit agreement with Bank
       of America as sole lead arranger and administrative agent.


The Preclusive Deal Protection Devices

       32.     To the detriment of the Company’s public shareholders, the Individual Defendants

agreed, in the Merger Agreement, to certain onerous and preclusive deal protection devices that


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operate conjunctively to make the Proposed Transaction a fait accompli and all but ensure that the

Proposed Transaction is consummated and that no competing offers emerge for the Company.

        33.     The Merger Agreement contains restrictive “no-shop” provisions that prohibit the

members of the Board from soliciting proposals relating to alternative offers or business

combinations.

        34.     The “no-shop” provisions strictly prohibit, except under extremely limited

circumstances, the Individual Defendants from engaging in discussions or negotiations relating to

proposals regarding alternative acquisitions or business combinations

        35.     Among other things, the “no-shop” provisions also require the Board to provide

Teledyne with written notice of any FLIR Acquisition Proposal, and further requires that the Board

provide prior written notice of its intention to terminate the Merger Agreement due to receipt of a

FLIR Superior Proposal so that Teledyne may negotiate with FLIR following Teledyne’s receipt of

the notice and Teledyne Financial can adjust the terms and conditions of the Merger Agreement so

that the FLIR Acquisition Proposal ceases to be an FLIR Superior Proposal.

        36.     In addition, the Merger Agreement provides that the Company will be required to pay

to Teledyne a termination fee of $250,000,000.00 with respect to any termination under the No-Shop

provisions of the Merger Agreement.

        37.     Ultimately, these preclusive deal protection devices restrained and continue to

restrain the Company's ability to solicit or engage in negotiations with any third party regarding a

proposal to acquire all or a significant interest in the Company, and further restrain the Company’s

public shareholders’ ability to disapprove the Proposed Transaction.

        38.     Indeed, the Proposed Transaction was negotiated through a flawed and conflicted

sales process pursuant to which FLIR conducted insufficient outreach and steered the transaction to

Teledyne by accelerating the merger process and negotiating the merger during the coronavirus


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pandemic.

        39.     The aggregate effect of the preclusive deal protection devices, viewed in light of the

materially inadequate consideration offered for the Company’s shares in the Proposed Transaction

and the flawed and conflicted sales process pursuant to which the Proposed Transaction was

negotiated, supports an inference that the Board was not acting in good faith in approving the terms

of the Merger Agreement.

        40.     Accordingly, Plaintiff seeks injunctive and other equitable relief to prevent the

irreparable injury that the Company’s shareholders will continue to suffer absent judicial intervention.

The Registration Statement Omits Material Information

        41.     On or about March 4, 2021, in order to convince FLIR’s public common stockholders

to vote in favor of the Proposed Transaction, the Defendants authorized the filing of the materially

incomplete and misleading Registration Statement with the SEC, in violation of Sections 14(a) and

20(a) of the Exchange Act.

         42.    The special meeting of FLIR’s shareholders to vote on the Proposed Transaction is

forthcoming.    The Individual Defendants were obligated to carefully review the Registration

Statement before it was filed with the SEC and disseminated to the Company’s shareholders to ensure

that it did not contain any material misrepresentations or omissions. However, the Registration

Statement misrepresents or omits material information that is necessary for the Company’s

shareholders to make an informed voting decision in connection with the Proposed Transaction.

         43.    Specifically, the Registration Statement omits two types of material information: (i)

information regarding the background of the transaction, and (ii) information that renders the

Company’s Financial Advisors’ fairness analysis materially false, misleading, or incomplete.

A. The Registration Statement Omits Material Information Regarding the Background of the
   Transaction

        44.     The Registration Statement states that the FLIR Board “has evaluated and considered

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a variety of potential strategic options, including strategic acquisitions, divestitures and business

combination transactions, in light of industry developments, economic and market conditions and

challenges facing participants in the industry.” However, the Registration Statement fails to disclose

whether, in “evaluating and considering” these strategic options: (i) FLIR executed standstill

agreements with any potential counterparties, and, if so, (ii) whether those standstill agreements

included “Don’t Ask, Don’t Waive” (“DADW”) obligations that would preclude these potential

counterparties from making an unsolicited acquisition proposal.

        45.     Disclosure of any standstill obligations is especially material here because: (i) FLIR

did not perform any market check whatsoever, (ii) and thus the Board is touting the “fiduciary out”

clause in the “no-shop” provisions in the Merger Agreement as a substitute for a pre-signing market

check or go-shop period, and (iii) the “no-shop” provisions expressly contemplate the possibility that

FLIR may have existing standstill agreements with other potential counterparties and allow FLIR to

waive those standstill obligations. If potential counterparties are bound by a DADW provision, then

the purported “fiduciary out” clause is effectively illusory. See Koehler v. NetSpend Holdings, Inc.,

C.A. No. 8373-VCG, 2013 Del. Ch. LEXIS 131, at *71-72 (Del. Ch. Ct. May 21, 2013).

        46.     The Registration Statement discloses that Defendant Smith – a director of both

Teledyne and FLIR – “unwittingly” shared with Teledyne’s Executive Chairman an email exchange

among the FLIR Board members that “included commentary from Mr. Cannon on the U.S. Air Force

program of record opportunity he believed FLIR would not win” but fails to disclose: (i) what steps

Defendant Smith took after realizing he “unwittingly” disclosed this exchange, and (ii) what steps the

other Individual Defendants took upon learning that it had been “unwittingly” disclosed.

B. The Registration Statement Omits Material Information Regarding the Fairness Analysis

        47.     The Registration Statement also omits material information regarding the Company’s

Financial Advisors’ Fairness Opinion and the various valuation analyses that the Company’s


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Financial Advisors performed to render the opinion but fails to provide enough information regarding

the necessary data, support for conclusions, or the existence of, or basis for, the underlying

assumptions that underpin the fairness opinion. Specifically, the Registration Statement does not

disclose enough information regarding the financial projections, inputs and assumptions for various

financial valuations. Without this information, shareholders cannot replicate the analyses, confirm

the valuations, evaluate the Financial Advisors’ opinion that the Merger Consideration is fair, or

accurately assess the reliability of the Fairness Opinion. The informative value of the Fairness

Opinion is not in its conclusions, but in the valuation analyses that support them. Thus, the key inputs,

which are intrinsically baked into those conclusions, must also be fairly disclosed.

         48.      First, with respect to the FLIR Management Projections beginning on Page 100 and

the Teledyne Pro Forma Projections beginning on Page 102, the Registration Statement fails to

disclose the line-items used to derive the Unlevered Free Cash Flow projections, including (i) Taxes

(or tax rate), (ii) Capital expenditures, (iii) Costs associated with mergers and acquisitions, (iv)

Changes in net working capital, and (v) Any other cash items.

         49.      With respect to Goldman Sachs’ Discounted Cash Flow Analysis (“DCF”) beginning on Page

108, the Registration Statement fails to disclose: (i) the full rationale and basis for selecting a discount rate

range of 6.5% to 9.0%, including the actual inputs that were used, (ii) the terminal values and Goldman Sachs’

full rationale and basis for selecting a an illustrative range of terminal year EV/EBITDA multiples of 12.0x to

15.0x, and (iii) a full sensitivity table based on the entire range of discount rates and multiples. Without this

information, it is impossible to determine whether the discounted cash flow analysis actually provides a

reasonable range for the Company’s intrinsic value. Indeed, a banker can make any transaction seem “fair”

simply by changing the inputs and assumptions to project and discount future cash flows below the present

value of the merger consideration.

         50.      With respect to Goldman Sachs’ Illustrative Present Value of Future Share Price Analysis

beginning on Page 108, the Registration Statement fails to disclose: (i) the full rationale and basis for selecting


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a discount rate of 8.25%, including the actual inputs that were used, (ii) Goldman Sachs’ full rationale and

basis for selecting a range of NTM EBITDA multiples of 16.0x to 20.0x, and (iii) a full sensitivity table across

all years and based on the entire range of multiples.

         51.     With respect to Goldman Sachs’ Selected Transactions Analysis beginning on Page

108, the Proxy fails to disclose: (i) the objective criteria, if any, that Goldman Sachs relied upon in

selecting the transactions analyzed as “similar” to FLIR, including the range of enterprise values in

the selected transactions, (ii) whether each transaction contemplated cash consideration, stock

consideration, or a cash/stock mix, and (iii) Goldman Sachs’ full rationale and basis for selecting a

range of last-twelve-months EBITDA multiples of 12.3x to 21.0x to value the Company, including

which (if any) of the selected precedent transactions were deemed most similar to the Proposed

Transaction and how Goldman Sachs accounted for the fact that the LTM EBITDA multiples in many

of the other transactions were not affected by the Covid-19 pandemic.

         52.     With respect to Goldman Sachs’ Premia Analysis beginning on Page 109, the Proxy

fails to disclose: (i) the actual transactions analyzed, (ii) the date of each transaction, (iii) the equity

value in each transaction, and (iv) the premium paid in each transaction.

         53.     With respect to Goldman Sachs’ Illustrative Present Value of Future Share Price

Analysis beginning on Page 109, the Registration Statement fails to disclose: (i) the full rationale and

basis for selecting a discount rate of 8.25%, including the actual inputs that were used, (ii) Goldman

Sachs’ full rationale and basis for selecting a range of NTM EBITDA multiples of 28.0x to 34.0x,

and (iii) a full sensitivity table across all years and based on the entire range of multiples.

         54.     If a proxy discloses financial projections and valuation information, such projections

and valuations must be complete, accurate, and honest. The question is not simply whether there is a

duty to speak, but also whether there may be liability for not having spoken enough. With regard to

future events, uncertain figures, and other so-called soft information, a company may choose silence

or speech elaborated by the factual basis as then known—but it may not choose half-truths. See
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Campbell v. Transgenomic, et al., No. 18-2198 (8th Cir., March 1, 2019) (noting that “half-truths”

are actionable misrepresentations under securities laws and collecting cases).            Accordingly,

Defendants have disclosed some of the information related to the projections, assumptions, and inputs

relied upon by Defendants’ financial advisors, but have omitted crucial line items, reconciliations,

and other information.      Thus, Defendants’ omission renders the projections disclosed in the

Registration Statement misleading.

          55.     In sum, the omission of the above-referenced information renders the Registration

Statement materially incomplete and misleading, in contravention of the Exchange Act. Absent

disclosure of the foregoing material information prior to the upcoming shareholder vote concerning

the Proposed Transaction, Plaintiff will be unable to make an informed decision regarding whether to

vote his shares in favor of the Proposed Transaction, and he is thus threatened with irreparable harm,

warranting the injunctive relief sought herein.

                                                COUNT I

  (Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9)

          56.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          57.     Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a national

securities exchange or otherwise, in contravention of such rules and regulations as the Commission

may prescribe as necessary or appropriate in the public interest or for the protection of investors, to

solicit or to permit the use of his name to solicit any proxy or consent or authorization in respect of

any security (other than an exempted security) registered pursuant to section 78l of this title.” 15

U.S.C. § 78n(a)(1).

          58.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange Act,


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provides that proxy communications shall not contain “any statement which, at the time and in the

light of the circumstances under which it is made, is false or misleading with respect to any material

fact, or which omits to state any material fact necessary in order to make the statements therein not

false or misleading.” 17 C.F.R. § 240.14a-9.

       59.     The omission of information from a proxy will violate Section 14(a) and Rule 14a-9

if other SEC regulations specifically require disclosure of the omitted information.

       60.     Defendants have issued the Registration Statement with the intention of soliciting the

Company’s common shareholders’ support for the Proposed Transaction. Each of the Individual

Defendants reviewed and authorized the dissemination of the Registration Statement, which fails to

provide critical information regarding the valuation analyses performed by the Company’s Financial

Advisors in support of its fairness opinion.

       61.     In so doing, Defendants made untrue statements of fact and/or omitted material facts

necessary to make the statements made not misleading. Each of the Individual Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a). The Individual Defendants were therefore negligent,

as they had reasonable grounds to believe material facts existed that were misstated or omitted from

the Registration Statement, but nonetheless failed to obtain and disclose such information to the

Company’s shareholders although they could have done so without extraordinary effort.

       62.     The Individual Defendants knew or were negligent in not knowing that the

Registration Statement is materially misleading and omits material facts that are necessary to render

it not misleading. The Individual Defendants undoubtedly reviewed and relied upon most if not all

of the omitted information identified above in connection with their decision to approve and

recommend the Proposed Transaction; indeed, the Registration Statement states that the Company’s

Financial Advisors reviewed and discussed its financial analyses with the Board, and further states


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that the Board considered the financial analyses provided by the Company’s Financial Advisors, as

well as its fairness opinion and the assumptions made and matters considered in connection

therewith. Further, the Individual Defendants were privy to and had knowledge of the projections

for the Company and the details surrounding the process leading up to the signing of the Merger

Agreement. The Individual Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Registration Statement, rendering the

sections of the Registration Statement identified above to be materially incomplete and misleading.

Indeed, the Individual Defendants were required to, separately, review the Company’s Financial

Advisors’ analyses in connection with their receipt of the fairness opinions, question the Company’s

Financial Advisors as to its derivation of fairness, and be particularly attentive to the procedures

followed in preparing the Registration Statement and review it carefully before it was disseminated,

to corroborate that there are no material misstatements or omissions.

       63.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Registration Statement. The preparation of a proxy statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Individual Defendants were negligent in choosing to omit material information

from the Registration Statement or failing to notice the material omissions in the Registration

Statement upon reviewing it, which they were required to do carefully as the Company’s directors.

Indeed, the Individual Defendants were intricately involved in the process leading up to the signing

of the Merger Agreement and preparation and review of the Company’s financial projections.

       64.     The Company is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Registration Statement.

       65.     The misrepresentations and omissions in the Registration Statement are material to

Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations and


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omissions are not corrected prior to the Shareholder Vote. Plaintiff has no adequate remedy at law.

Only through the exercise of this Court’s equitable powers can Plaintiff be fully protected from the

immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                                COUNT II

    (Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act)

          66.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          67.     The Individual Defendants acted as controlling persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of the Company, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in the

Registration Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially incomplete

and misleading.

          68.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          69.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same.          The Registration Statement contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed


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Transaction. They were thus directly involved in preparing this document.

       70.     In addition, as the Registration Statement sets forth at length, and as described herein,

the Individual Defendants were involved in negotiating, reviewing, and approving the Proposed

Transaction. The Registration Statement purports to describe the various issues and information that

the Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       71.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of

the Exchange Act.

       72.     As set forth above, the Individual Defendants had the ability to exercise control over

and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by their

acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       73.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily enjoining Defendants and all persons acting in concert with them from

proceeding with the Shareholder Vote or consummating the Proposed Transaction, unless and until

the Company discloses the material information discussed above which has been omitted from the

Registration Statement;

       B.      Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;


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       C.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

 Dated: March 15, 2021                                MONTEVERDE & ASSOCIATES PC

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